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                                UNITED STATES JUDICIAL PANEL
                                             on
                                 MULTIDISTRICT LITIGATION

  IN RE: JUUL LABS, INC., MARKETING,
  SALES PRACTICES, AND PRODUCTS
  LIABILITY LITIGATION
        Ali v. 7-Eleven, Inc.,                                     )
                S.D. Florida, C.A. No. 1:21-23588                  )                       MDL No. 2913


               ORDER VACATING CONDITIONAL TRANSFER ORDER
          AND VACATING THE JANUARY 27, 2022, HEARING SESSION ORDER


          A conditional transfer order was filed in this action (Ali) on October 20, 2021. Prior to
  expiration of that order’s 7-day stay of transmittal, plaintiff in Ali filed a notice of opposition to the
  proposed transfer. Plaintiff later filed a motion and brief to vacate the conditional transfer order. The
  Panel has now been informed that Ali was dismissed without prejudice by the Honorable Federico
  A. Moreno in an order filed on January 26, 2022.

       IT IS THEREFORE ORDERED that the Panel’s conditional transfer order designated as
  “CTO-75" filed on October 20, 2021, is VACATED.

        IT IS FURTHER ORDERED that the Hearing Session Order and the attached Schedule filed
  on December 16, 2021, are VACATED insofar as they relate to this action.


                                                           FOR THE PANEL:



                                                           John W. Nichols
                                                           Clerk of the Panel
